






Opinion issued June 19, 2003






	








In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-03-00054-CV

____________


HILIJIE BROOKS,  Appellant


V.


STATE OF TEXAS,  Appellee






On Appeal from the 129th District Court

Harris County, Texas

Trial Court Cause No. 0224709






MEMORANDUM  OPINION

	This is an appeal from a judgment signed October 29, 2002.  Appellant has
invoked the jurisdiction of this Court by filing a notice of appeal, but he has not paid
the appellate filing fee.  On , February 14, 2003, this Court ordered that unless, within
15 days of the date of the order, appellant paid the appellate filing fee, his appeal
would be dismissed.  The 15 days have expired and appellant has not paid the
appellate filing fee.

	Accordingly, we dismiss the appeal.

PER CURIAM

Panel consists of Justices Hedges, Nuchia, and Keyes.



